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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

CAROLINA MAYEUX,                               §
    Plaintiff                                  §
                                               §
v.                                             §           CIVIL ACTION NO. 3:15-CV-00052
                                               §
STATE FARM LLOYDS,                             §
     Defendant                                 §

______________________________________________________________________________

                  PLAINTIFF’S SECOND AMENDED PETITION
______________________________________________________________________________
TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW, Carolina Mayeux (“Plaintiff” or “Mayeux”), and files this Plaintiff’s First

Amended Petition, complaining of State Farm Lloyds (“STATE FARM” or “Defendant”) and, for

cause of action, Plaintiff would respectfully show this Honorable Court the following:

                                 DISCOVERY CONTROL PLAN

1.         Mayeux intends for discovery to be conducted under Level 2 of Rule 190 of the Texas

Rules of Civil Procedure.

                                             PARTIES

2.         Carolina Mayeux is an individual residing in Galveston County, Texas.

3.         Defendant State Farm Lloyds is a Texas insurance company engaging in the business of

insurance in the State of Texas. Defendant may be served by serving its Attorney for Service,

Rendi Black c/o State Farm, 17301 Preston Road, Dallas, Texas 75252 by certified mail, return

receipt.




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                                       JURISDICTION

4.     The Court has jurisdiction over this cause of action because the amount in controversy is

within the jurisdictional limits of the Court. Mayeux is seeking monetary relief over $50,000 but

not more than $1,000,000. Mayeux reserves the right to amend the petition during and/or after the

discovery process.

5.     The Court has jurisdiction over Defendant because this defendant is a Texas insurance

company conducting business in the State of Texas.

                                            VENUE

6.     Venue is proper in Galveston County, Texas, because the insured property is situated in

Galveston County, Texas. Tex. Civ. Prac. & Rem. Code §15.032.

                                            FACTS

7.     Mayeux is the owner of a Texas Homeowners’ Insurance Policy number 5386407038

(hereinafter referred to as “the Policy”), which was issued by Defendant.

8.     Mayeux owns the insured property, which is specifically located at 5313 Thistle Drive

Dickenson, Texas 77539, in Galveston County (hereinafter referred to as “the Property”).

9.     Defendant sold the Policy insuring the Property to Mayeux.

10.    On July 4, 2012, Plaintiff hired Super Plumber Company located in La Porte, Texas. They

detected plumbing leaks under the foundation. These continuous or repeated leaks caused

extensive water damage to the Plaintiff’s property. Plaintiff then contacted State Farm to open a

water claim. State Farm hired Vortex Plumbing, Inc. on or about July 30, 2012, which verified the

findings of Super Plumber Company that there was indeed a leak under the foundation.




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11.    State Farm paid a minimum amount towards the claim based on Vortex’s findings which

did not address any of the plumbing leaks or foundation problems or even most of the cosmetic

damage related to this claim.

12.    Plaintiff retained JK Core Enterprises, Inc. as her public adjuster. JK Core Enterprises

forwarded to State Farm their estimate, photographs and report. JK Core Enterprises also

forwarded to State Farm foundation reports by Continental Foundation Restoration located in

League City, Texas, both for March 12, 2010 and August 24, 2012, and Keelan Engineering

Services dated September 3, 2012.

13.    State Farm did not address these issues mentioned with payment; however, they sent

Brown Consulting Services, Inc. for another inspection. The only response from State Farm

regarding their initial inspection was a request of additional testing.

14.    The grossly proportionate difference between the JK Core Enterprises estimate and the

Vortex Plumbing estimate made it apparent that the amount of damage was in dispute.

15.    JK Core Enterprises stated in a letter to State Farm dated January 23, 2013 that in order to

resolve the dispute concerning the value of the loss, Plaintiff would invoke the right to have the

loss appraised by a competent and disinterested third party. Plaintiff designated Rocky Garner as

her appraiser. However, State Farm did not participate in appraisal, despite the fact that both

parties are bound to the appraisal provisions of the Policy.

16.    State Farm did not provide a valid reason for not participating in appraisal. The Policy

states: “If you and we fail to agree on the amount of loss, either one can demand that the amount

of the loss be set by appraisal.” There was a dispute concerning the amount of the loss. In their

letter dated January 25, 2013, State Farm admitted to this fact by stating that “we disagree with

your determination of the value of our loss to the property insured under our policy number



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referenced above.” Instead, State Farm asserted in a letter dated February 19, 2013 that they did

not accept appraisal as a means to resolve the issue, even though the policy specifically allows

either party to invoke appraisal when the amount of damages is in dispute. State Farm was provided

with the name, company, phone number, and email address of Rocky Garner, the appraiser

designated by Plaintiff.

17.    The appraisal process was officiated through the 212th Judicial District Court of Galveston

County, Texas. On or about April 23, 2014, the Honorable Bret Griffin appointed Mark Davidson

as umpire. Again, State Farm did not participate in the appraisal process. On or about September

24, 2014, appraiser Rocky Garner and umpire Mark Davidson issued an appraisal award in the

amount of $146,685.69. To date, State Farm has not paid the appraisal award or any portion

thereof.

18.    There has been sufficient testing and evaluations by many experts at this point in order for

State Farm to properly investigate and adjust the water damages claim. The Department of

Insurance Code has requirements for an insurer to investigate and adjust claims in a timely manner.

State Farm is using the request of additional inspections as a tactic to avoid paying additional

money towards the claim. At this time Defendant has failed to fully and accurately adjust the loss

and has failed to issue full payment in a timely manner. Further, the Defendant wrongfully failed

to participate in the appraisal process, and wrongfully—and in bad faith—failed to pay the

appraisal award.

19.    Defendant set about to deny and/or underpay on properly covered damages. As a result of

Defendant’s unreasonable investigation of the claim, including not providing full coverage for the

damages sustained by Mayeux, as well as under-scoping the damages during its investigation and

thus denying adequate and sufficient payment to Mayeux to repair her home, Mayeux’s claim was



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improperly adjusted. The mishandling of Mayeux’s claim has also caused a delay in the ability to

fully repair the home, which has resulted in additional damages. To this date, Mayeux has yet to

receive the full payment to which is entitled under the Policy.

20.    Defendant failed to meet its obligations under the Texas Insurance Code regarding payment

of claim without delay. Specifically, it has delayed full payment of Mayeux’s claim longer than

allowed and, to date, Mayeux has not received full payment for the claim. Defendant State Farm’s

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. Tex. Ins.

Code §542.058.

                                      BREACH OF CONTRACT

21.    Defendant State Farm’s conduct constitutes a breach of the insurance contract made

between State Farm and Mayeux.

22.    Defendant’s failure and/or refusal, as described above, to pay the adequate compensation

as it is obligated to do under the terms of the Policy in question, and under the laws of the State of

Texas, constitutes a breach of Defendant State Farm’s insurance contract with Mayeux.

23.    Furthermore, Defendant’s failure and/or refusal, as described above, to timely pay in full

the appraisal award should be construed as evidence of State Farm’s breach of Defendant’s

insurance contract with Mayeux.

                       NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                            THE PROMPT PAYMENT OF CLAIMS

24.    Defendant State Farm’s conduct constitutes violations of the Texas Insurance Code § 542,

subchapter B, Prompt Payment of Claims. Specifically, State Farm’s failing to request all items,

statements, and forms that would reasonably be required within the applicable time constraints

constitutes a non-prompt payment of the claim.




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25.    Furthermore, Defendant’s delay of the full payment of Plaintiff’s claim beyond the

applicable time constraints constitutes a non-prompt payment of the claim. Tex. Ins. Code

§542.058.

                         NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                              UNFAIR SETTLEMENT PRACTICES

26.    Defendant State Farm’s conduct constitutes multiple violations of the Texas Insurance

Code § 541, Unfair Settlement Practices. All violations under this article are made actionable by

Tex. Ins. Code § 541.151.

27.    Specifically, Defendant State Farm’s conducting an unreasonable investigation; failing to

attempt in good faith a prompt, fair, and equitable settlement; knowingly misrepresenting to

Plaintiff that the damage to the property was not covered under the policy, even though the damage

was caused by a covered occurrence; and wrongfully denying or underpaying the claim for repairs

even though Plaintiff’s policy provides coverage for such loss, constitute unfair methods of

competition and unfair and deceptive acts or practices in the business of insurance.

                    BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

28.    Defendant State Farm’s conduct constitutes a breach of the duty of good faith and fair

dealing.

29.    From the time and thereafter that Plaintiff’s claim was presented to Defendant State Farm,

the liability of State Farm to pay the full claim in accordance with the terms of the Policy was

reasonably clear. However, State Farm has failed and/or refused to pay Plaintiff in full, despite

there being no basis whatsoever on which a reasonable insurance company would have relied to

deny the full payment.

30.    Furthermore, Defendant’s failure and/or refusal, as described above, to timely pay in full

the appraisal award should be construed as evidence that State Farm grossly—and in bad faith—

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undervalued its liability to Plaintiff by paying only $2,926.35 instead of the appraisal award for

$146,685.69, thereby constituting a breach of the duty of good faith and fair dealing.

                                       DTPA VIOLATIONS

31.    Defendant State Farm’s conduct constitutes violations of the Tex. Bus. & Com. Code

§17.46(b), Deceptive Trade Practices Act. Specifically, State Farm knowingly made

misrepresentations to Plaintiff regarding the need for replacement or repair to her property.

                                           DAMAGES

32.    Plaintiff would show that all of the aforementioned acts or omissions, taken together or

singularly, constitute the producing causes of the damages sustained by Plaintiff.

33.    For breach of contract, Mayeux is entitled to regain the benefit of the bargain, which is the

amount of the claim, together with attorney’s fees.

34.    For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Mayeux is

entitled to the amount of the claim, as well as eighteen (18) percent interest per annum on the

amount of such claim as damages, together with attorney's fees. Tex. Ins. Code §542.060.

35.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Mayeux

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing conduct of

the acts described above, Mayeux asks for three times the actual damages. Tex. Ins. Code

§541.152.

36.    For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from State Farm’s breach of duty,

such as additional costs, economic hardship, losses due to non-payment of the amount of the




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appraisal award owed to Plaintiff, exemplary damages, attorney’s fees, and damages for mental

anguish and emotional distress.

37.     For the prosecution and collection of this claim, Mayeux has been compelled to engage the

services of the attorney whose name is subscribed to this pleading. Therefore, Mayeux is entitled

to recover a sum for the reasonable and necessary services of Mayeux’s attorney in the preparation

and trial of this action, including any appeals to the Court of Appeals and/or the Supreme Court.

38.     Mayeux is not making any claims for relief under federal law.

                                         JURY DEMAND

39.     Mayeux hereby requests that all causes of action alleged herein be tried before a jury

consisting of citizens residing in Galveston County, Texas. Mayeux hereby tenders the appropriate

jury fee.

                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Mayeux prays that upon trial hereof, said

Plaintiff has and recover such sums as would reasonably and justly compensate in accordance with

the rules of law and procedure, as to actual damages, treble damages under the Texas Insurance

Code and the Texas Deceptive Trade Practices Act, and all punitive and exemplary damages as

may be found. In addition, Mayeux requests the award of attorney’s fees for the trial and any

appeal of this case, for all costs of Court on Mayeux’s behalf expended, for prejudgment and post

judgment interest as allowed by law, and for any other and further relief, either at law or in equity,

to which Mayeux may show justly entitled.




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                                        Respectfully submitted,


                                        By: ___________________________________
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                                              Federal Bar # 1045838
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                                              ATTORNEY FOR PLAINTIFF




                            CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on October 1, 2015, a copy of the
foregoing instrument was served upon the following counsel of record in accordance with
the Federal Rules of Civil Procedure:

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                                 ________________________________
                                 Shaun W. Hodge




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